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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                  United States District Court
                                         Eastern District of California

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                    v.                                                 (For Revocation of Probation or Supervised Release)
                                                                       (For Offenses committed on or after November 1, 1987)
              RACHEL HOLMES
                    (Defendant’s Name)                                 Criminal Number: 2:09CR00026-02


                                                                       Timothy E. Warriner, Appointed
                                                                       Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge 1 as alleged in the violation petition filed on 5/16/2013 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Number                   Nature of Violation                                   Date Violation Occurred
1                                  Associating With a Convicted Felon                    3/28/2013




The court: [ ] revokes: [U] modifies and [U] continues under same conditions of supervision heretofore ordered on
10/31/2012 with an added condition #9 (See page 3) .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]      Charge(s)         is/are dismissed.


        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

       IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                              5/22/2013
                                                              Date of Imposition of Sentence



                                                              Signature of Judicial Officer


                                                              KIMBERLY J. MUELLER, United States District Judge
                                                              Name & Title of Judicial Officer

                                                              June 3, 2013
                                                              Date
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
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DEFENDANT:                 RACHEL HOLMES


                                                SUPERVISED RELEASE
The defendant shall be continued on supervised release as previously ordered with the following added special condition #9.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
         16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      without the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
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DEFENDANT:                    RACHEL HOLMES


                                      SPECIAL CONDITIONS OF SUPERVISION
          1.    The defendant shall submit to the search of her person, property, home, and vehicle by a United
                States probation officer, or any other authorized person under the immediate and personal
                supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
                Failure to submit to a search may be grounds for revocation. The defendant shall warn any
                other residents that the premises may be subject to searches pursuant to this condition.

          2.    The defendant shall provide the probation officer with access to any requested financial
                information.

          3.    As directed by the probation officer, the defendant shall participate in an outpatient correctional
                treatment program to obtain assistance for drug or alcohol abuse.

          4.    As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
                breath, urine, sweat patch, etc.) to determine if she has reverted to the use of drugs or alcohol.

          5.    As directed by the probation officer, the defendant shall participate in a program of outpatient
                mental health treatment.

          6.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
                treatment or testing and shall make payment directly to the vendor under contract with the
                United States Probation Office of up to $25 per month.

          7.    The defendant shall be monitored for a period of six 6 months, with location monitoring
                technology, which may include the use of radio frequency (RF) or Global Positioning System
                (GPS) devices, at the discretion of the probation officer. The defendant shall abide by all
                technology requirements and shall pay the costs of location monitoring based upon their ability
                to pay as directed by the probation officer. In addition to other court-imposed conditions of
                release, the defendant’s movement in the community shall be restricted as follows:

                    The defendant shall be restricted to her residence at all times except for employment;
                    education; religious services; medical, substance abuse, or mental health treatment; attorney
                    visits; court appearances; court-ordered obligations; or other activities as pre-approved by
                    the probation officer.

          8.    The defendant shall register, as required in the jurisdiction in which she resides, as a drug
                offender.

          9.    The defendant shall participate in a cognitive behavioral treatment program as directed by the
                probation officer.
